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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                           Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., Case No. 18-11094 (SCC) (Jointly
et al.                                     Administered)

Debtors in a Foreign Proceeding.
GONZALO GIL-WHITE, PERSONALLY AND IN             Adv. Pro. No. 19-1294(SCC)
HIS CAPACITY AS FOREIGN REPRESENTATIVE
of PERFORADORA ORO NEGRO, S. DE R.L. DE
C.V. AND INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.

                          Plaintiff,

                   -against-

ALP ERCIL; ALTERNA CAPITAL PARTNERS,
LLC; AMA CAPITAL PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
RESEARCH AND CAPITAL MANAGEMENT LTD.;
CQS (UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MEXICO, S.A., INSTITUCIÓN
DE BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
BARRADAS ABOGADOS, S.C.; GHL
INVESTMENTS (EUROPE) LTD.; JOHN
FREDRIKSEN; KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO PRIMUS
PTE., LTD.; ORO NEGRO LAURUS PTE., LTD.;
ORO NEGRO FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO IMPETUS PTE.,
LTD.; PAUL MATISON LEAND, JR.; ROGER
ALAN BARTLETT; ROGER ARNOLD HANCOCK;
SEADRILL LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                          Defendants.



                  MOTION FOR LEAVE TO FILE UNDER SEAL
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               Alterna Capital Partners, LLC, AMA Capital Partners, LLC, Maritime Finance

Company Ltd., Kristan Bodden, Paul Matison Leand, Jr., Asia Research and Capital

Management, Ltd., CQS (UK), Alp Ercil, GHL Investments (Europe) Ltd., Ship Finance

Company, Ltd., (the “Ad Hoc Defendants”), 1 by and through their undersigned counsel, hereby

move (the “Motion”) this Court for entry of an order substantially in the form attached hereto as

Exhibit A (the “Proposed Order”) authorizing the Moving Ad Hoc Defendants to file under seal,

Exhibit 49 2 of the Declaration of William A. Clareman in Support of the Ad Hoc Defendants’

Motion to Dismiss the Complaint as well as the Memorandum of Law in Support thereof (the

“Proposed Submissions”), filed substantially contemporaneously herewith. In support thereof,

the Moving Ad Hoc Defendants respectfully represent as follows:

                                    I.     RELIEF REQUESTED

               Pursuant to Sections 105(a) and 107(b) of title 11 of the United States Code (the

“Bankruptcy Code”), Rule 9018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 9018-1 of the Local Bankruptcy Rules for the Southern District of New York

(the “Local Rules”), the Moving Ad Hoc Defendants request entry of the Proposed Order: (a)

authorizing them to file un-redacted copies of the Proposed Submissions under seal; and (b)

directing that such copies shall remain under seal and made available only to the following

parties (collectively, the “Receiving Parties”):

           a. Fernando Perez-Correa Camarena, as the current Foreign Representative of

               Integradora de Servicios Petroleros Oro Negro, S.A.P.I. de C.V. (“Integradora”)


1
       Asia Research and Capital Management, Ltd., CQS (UK), Alp Ercil, GHL Investments (Europe) Ltd., and
       Ship Finance Company, Ltd., (together, the “Foreign Defendants”) object to personal jurisdiction and have
       filed a Motion to Dismiss the Complaint under Rule 12(b)(2) of the Federal Rules of Civil Procedure, filed
       contemporaneously herewith.
2
       Exhibit 49 is an email that has been redacted on the basis of attorney-client privilege and produced to
       Plaintiffs in redacted form.
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               and Perforadora Oro Negro, S. de R.L. de C.V. (“Perforadora” and, together with

               Integradora, the “Foreign Debtors”);

           b. Plaintiff Gonzalo Gil-White (the “Former Foreign Representative” or, together

               with Integradora and Perforadora, the “Plaintiffs”);

           c. Oro Negro Primus Pte., Ltd., Oro Negro Laurus Pte., Ltd., Oro Negro Fortius Pte.,

               Ltd., Oro Negro Decus Pte., Ltd., Oro Negro Impetus Pte., Ltd. (the “Singapore

               Rig Owners”); and

           d. Roger Alan Bartlett, Roger Arnold Hancock, and Hunter Cochrane, Jr. (the

               “Singapore Directors”). 3

                              II.     JURISDICTION AND VENUE

               This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1134. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

               Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409.

                                     III.      BACKGROUND

               On October 9, 2018, the Court entered a Confidentiality Agreement and

Stipulated Protective Order (the “Protective Order”) in the related chapter 15 proceeding (the

“Chapter 15 Proceeding”) that governed the treatment of discovery material which the producing

party sought to maintain as confidential. (Case No. 18-11094(SCC), ECF No. 104.)

               Paragraph 5(b) of the Protective Order permits a party to designate information as

“Highly Confidential” if that party

       reasonably and in good faith believes such Discovery Material constitutes or
       contains proprietary of commercially sensitive technical, business, financial, or
       other information subject to Federal Rule of Civil Procedure 45(d)(3)(B) or

3
       The Receiving Parties already have access to the Proposed Submissions, either through discovery in the
       Chapter 15 Proceeding or by nature of their common interest privilege with the Moving Ad Hoc
       Defendants.

                                                      2
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       Bankruptcy Rules 9016 or 9018; or is subject by law, including foreign law, or by
       contract to a legally protected right of privacy; or the Producing Party is under a
       preexisting obligation to a third-party to treat as confidential; or such Discovery
       Material is highly personal in nature or is of such a nature that a risk of
       competitive injury would be created if such Discovery Material were disclosed to
       persons other than those identified in Paragraph 12 of this Order.

(Protective Order ¶ 5(b).)

                On June 6, 2019, the Former Foreign Representative filed the complaint in this

action (the “Complaint”) on his own behalf and on behalf of the Foreign Debtors, which relies on

heavily on “Highly Confidential” and “Confidential” discovery material produced by the Moving

Ad Hoc Defendants in the Chapter 15 Proceeding subject to the Protective Order, including the

Proposed Submissions. (Adversary Proceeding ECF No. 1; see also id. ECF No. 9.) 4

                Specifically, the Complaint describes an email from the Ad Hoc Defendants’

Mexican counsel to Mr. Leand, attached as Exhibit 49 to the Clareman Declaration (the

“Attorney Email”). (Compl. ¶ 232.) This allegation forms a basis of Counts 1, 3, 5, and 6 of the

Complaint. (See id. ¶¶ 449, 461, 473, 480.)

                                    IV.      BASIS FOR RELIEF

                While a presumption of public access applies to judicial documents, i.e.,

documents relevant to the performance of the judicial function and useful in the judicial process,

courts must balance against the weight of that presumption any countervailing factors, such as

“the privacy interests of those resisting disclosure”—including “the degree to which the subject

matter is traditionally considered private rather than public”—and the “nature and degree of

injury” resulting from disclosure. See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120

(2d Cir. 2006); United States v. Amodeo (“Amodeo II”), 71 F.3d 1044, 1050–51 (2d Cir. 1995).


4
       The publicly-filed versions of the Complaint contain numerous redactions. During the June 25, 2019,
       hearing, counsel for the Former Foreign Representative indicated to the Court that these redactions were
       out of respect for the producing parties’ confidentiality designations. (June 25, 2019 H’ng Tr. at 55:8-22.)

                                                        3
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               The private nature of the Proposed Submissions outweigh the need for public

disclosure of the Proposed Submissions. The Attorney Email is an email from the Ad Hoc

Defendants’ Mexican counsel that the Moving Ad Hoc Defendants initially withheld as

privileged, which was only produced in redacted form following an in camera review. (See

Interested Parties’ Feb. 26, 2019 Letter regarding Privilege Designation Objections (ECF No.

173) at 3.) “The attorney-client privilege is ‘the oldest of the privileges for confidential

communications known to the common law.’” In re Richard Roe, Inc., 68 F.3d 38, 39 (2d Cir.

1995) (citation omitted). It “is designed to promote unfettered communication between attorneys

and their clients so that the attorney may give fully informed legal advice.” Id. at 40. Thus, even

if the attorney-client communication is not fully cloaked in privilege, such communications are

traditionally considered private and outweigh any interest in public disclosure of the Attorney

Email. In addition, the Memorandum of Law in Support of the Ad-Hoc Defendants’ Motion to

Dismiss quotes and relies upon the Attorney Email.

               Accordingly, the Ad Hoc Defendants respectfully submit that the Proposed

Submissions should be maintained under seal, and that the Interested Parties should be

authorized to the file the un-redacted versions of the Proposed Submissions under seal.

                                          CONCLUSION

               WHEREFORE, the Moving Ad Hoc Defendants respectfully request that the

Court enter the Proposed Order granting the relief requested herein and such other relief as the

Court deems appropriate under the circumstances.




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Dated: August 26, 2019               Respectfully submitted,
New York, New York
                                     PAUL, WEISS, RIFKIND, WHARTON &
                                     GARRISON LLP

                                     /s/    William A. Clareman
                                     Andrew N. Rosenberg
                                     Aidan Synnott
                                     William A. Clareman
                                     Claudia R. Tobler
                                     Christopher Hopkins
                                     Crystal Johnson

                                     1285 Avenue of the Americas
                                     New York, NY 10019
                                     Telephone: (212) 373-3000
                                     Facsimile: (212) 757-3990

                                     Counsel for the Ad Hoc Defendants




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                        Exhibit A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re:                                        Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L. DE           Case No. 18-11094 (SCC)
C.V., et al.                                   (Jointly Administered)

Debtors in a Foreign Proceeding.
GONZALO GIL-WHITE, PERSONALLY AND IN           Adv. Pro. No. 19-1294(SCC)
HIS CAPACITY AS FOREIGN
REPRESENTATIVE of PERFORADORA ORO
NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS PETROLEROS
ORO NEGRO, S.A.P.I. DE C.V.

                          Plaintiff,

                   -against-

ALP ERCIL; ALTERNA CAPITAL PARTNERS,
LLC; AMA CAPITAL PARTNERS, LLC; ANDRES
CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
RESEARCH AND CAPITAL MANAGEMENT
LTD.; CQS (UK) LLP; FINTECH ADVISORY,
INC.; DEUTSCHE BANK MEXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE; GARCÍA
GONZÁLEZ Y BARRADAS ABOGADOS, S.C.;
GHL INVESTMENTS (EUROPE) LTD.; JOHN
FREDRIKSEN; KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO
PRIMUS PTE., LTD.; ORO NEGRO LAURUS
PTE., LTD.; ORO NEGRO FORTIUS PTE., LTD.;
ORO NEGRO DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; PAUL MATISON LEAND,
JR.; ROGER ALAN BARTLETT; ROGER
ARNOLD HANCOCK; SEADRILL LIMITED;
SHIP FINANCE INTERNATIONAL LTD.; and
DOES 1-100

                          Defendants.

    [PROPOSED] ORDER GRANTING THE MOVING AD HOC DEFENDANTS
               MOTION FOR LEAVE TO FILE UNDER SEAL
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               Upon consideration of the motion (the “Motion”) of Alterna Capital Partners,

LLC, AMA Capital Partners, LLC, Maritime Finance Company Ltd., Kristan Bodden, Paul

Matison Leand, Jr., Asia Research and Capital Management, Ltd., CQS (UK), Alp Ercil, GHL

Investments (Europe) Ltd., Ship Finance Company, Ltd., (the “Ad Hoc Defendants”) to

authorize the Moving Ad Hoc Defendants to file under copies of Exhibit 49 of the Declaration of

William A. Clareman in support of the Ad Hoc Defendants’ Motion to Dismiss the Complaint

and the Memorandum of Law in Support thereof (the “Proposed Submissions”), filed

substantially contemporaneously herewith; and it appearing that the relief requested in the

motion is in the interests of justice; and it appearing that this Court has jurisdiction over the

motion pursuant to 28 U.S.C. §§ 157(b) and 1334; and the Court having found that the legal and

factual bases set forth in the motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefore; it is HEREBY ORDERED THAT:

       1.      The relief requested in the Motion is granted as set forth herein.

       2.      Pursuant to Section 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018 and

               Local Bankruptcy Rule 9018-1(b), the Ad Hoc Defendants are authorized to file

               the Proposed Submission under seal.

       3.      All information filed under seal pursuant to this Order shall remain under seal

               until further order of the Court.

       4.      At the conclusion of this matter, the Moving Ad Hoc Defendants shall retrieve the

               confidential information.

       5.      This Order is without prejudice to the rights of any party in interest, or the United

               States Trustee, to seek to unseal the sealed documents, or any part thereof.
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     6.        This Court shall retain jurisdiction to hear and determine all matters arising from

           the implementation of this Order.



Dated: _______________
New York, New York                       THE HONORABLE SHELLEY C. CHAPMAN
                                         UNITED STATES BANKRUPTCY JUDGE
